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lN THE ZZND JUl)lCl.~\l. ClRCUlT COURT OF ClT\' OF S'l` l.OUlS, l\'llSSOURI

 

 

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»-s. S'i` i.OLiS. MO 63130

 

 

 

 

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KINDRED HOSPITAL C,`|\'ll_, (`OL`R“l`S Bl.lll,.l)lNG

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Summons in Civil Case
'l`he State of Missouri to: Kl\'DRF.D HOS|‘|'I`.*\L

 

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’Sl~\Rll.\',\‘ .ll)f\l‘_'$
4930 lili\l)l`l.l BL\`D
SAINT l.()l lS. \l(`) 63130
(`()l/k'f SE4L OF You are summoned to appear before this court and to tile your pleading to the petitioii. a copy of
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\\ hieh is attached and to scr\c a copy of your pleading upon the attorney for l"laintil`f.i‘l’ctitioncr at the
above address all within 30 days alter recei\ing this suinmons, exclusive ol tlte da_\ of senicc. lf _\ou tail to
tile _\our pleading, judgment l)_v default may be taken against _\,ou for the relief demanded iii the petitioii.

 

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m dcli\crin;_; d cnp;~ ot` thc summon§ lind a copy oflhe petition to the Dc'tt:ii<lant.'Re\pondc~nt
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EXH\B\T

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M|SSOURl ClRCU|T COURT
TWENTV- SECOND lUD|ClAL ClRCUlTS
(ST. LOU|S ClTY)

?~»",

Yvonne Thomas, Cause No.
4545 Evans Ave Division:
St. Louis, Mo.
314-531-1546
plaintiff Petition/Pleading
V.

DEMAND FOR JURY TRIAL
Kindred Hospital
4930 Lindell BLVD.
St. Louis, lVlo. 63108
314-361-8700
John Doe, Physiciari,
lane Doe, Nurse,
lohn Doe,
lane Doe,

Barbara Doe,
Defendants
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Now comes the Pia`intiff, Yvonne Thomas, bringing this cause of action under the Missouri
Revised statutes for Wrongful Death, section 537.080, Negligent Supervision, and N|ed`ical
l’\/|alpractice and pursuant to Missouri Suprenie court rule 55.05, against the above named
defendants in negligently contributing to and Causing injuries and the death of her mother_. l‘t'is.
W`iliie C. Danie|, on June 11, 2011

For her cause of action P|aintiff states:

l. Plaintitf is resident of city of Sti Louis, residing at 4545 Evans Ave. St. Lou'is. Mo.

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2 That the Defendants and their employees primary business location is Kindred Hospita|,
located at 4930 Lindell Blvd. in St. Louis, l\/lo;

3. That the acts specified here in this petition all Were done in Str Louis Cit\;, Missouri at
Kindred Hospital by its employees representatives agents or contractual physicians
and therefore this Court has jurisdiction to hear this petition

4, That pursuant to section 537.080(3)(1) of l\/lissouri Revised Statutes Yvonne Thomas is a
Class l beneficiary of her motherl ‘v’\:'i||`ie C Daniel and as such does have standing to

bring this action

Lri

That venue is located in St. Louis city, Where the first injury occurred at i<indred Hospita\
in St. Louis Cit‘,/

o That on March 24, 2011, i‘.’ls_ Willie C. Daniel was admitted to Defendant Kindred
Hospitals care from St Louis University Hospital for "respiratorv system therapy,"

without any injuries to her |egs, thighs or buttocl< areas, blood poisoning or any “septic"

condition;

\l

That on or about Ma\j 30, 2011, there were severe sores. bruises and bed sore injuries
that had become and were infected poisonous, and septic to my mother's left thigh,
buttocks and back, W`ith blood and puss oozing from them. The Defendants negligently
failed to provide her with proper care and treatment to prevent these injuries from
occurring or to properly diagnose and treat these injuries These injuries turned "septic"’
and contributed to and,/or caused the death of Wi|lie C. Daiiiel on lune 11,2011;

8. Defendant Kindred Hospita|, employees John Doe physician, and lane Doe Nurse failed

to properly monitor, treat and prevent these wounds and sores from occurring to Willie

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C. Daniel and these Wounds, sores and injuries to her buttocks area continued spreading

and turned “septic" and caused her further injury and eventually death,'

go

Defendant Kindred Hospital vvas negligent for failing to select, train_. supervise, and
monitor its employees and their negligence and failures in care of Wiilie C Daniel, my
mother, and this) directly and indirectly resulted in the "septic" condition that
contributed to and/or caused her death;

10 That from March 2¢1, 2011 to l'\/lay 30, 2011, Defendant Kindred Hospital, its employees
and other Defendants did withhold and failed to report the extent of Willie C, Daniels
Wounds, bedsores and injuries from the family or medical personnel, preventing
treatment, medication and care and these injuries turned "`septic"' containing diseases
and caused and/or contributed to her death on june 11, 2011;

ll That on May 30, 2011, it Was discovered at Barnes»lewish Hospital_. that Defendant
Kindred hospital and its employees had allowed a substantial portion of Wi|lie C_
Daniel’s upper left thigh and buttocks to become infected, septic and poisonous With
portions of thigh to have eroded away or removed via infection as Wel| as severe
Wounds and injury to her buttocks and that a “septic" condition resulted and occurred
as result of their negligence Wil|ie C. Daniel died on June 11, 2011;

12. On lune 11, 2011, Wil|ie C Daniel died from the injuries that resulted from the
Defendants negligence from the resulting "septic” conditions;

13. This "septic" condition and the resulting diseases Was caused by the Defendants

negligent and wrongful care related to the bed sores, Wounds and infections that

occurred at Defendant Kinon HospitAt;

Case:

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That from l`v’|ay l, 2011 to l\’|ay ZLO, 2011, Defendant Kindred Hospital, its employees
lohii Doe physician, and lane Doe nurse failed to use the degree of skill and learning
ordinarily used by members of profession under the same or similar circumstances by
failing to preyent, then failing to diagnose, then failing to properly medicate and treat
the bed sores, open wounds blood poisoning and the resulting "septic", condition
that contributed to and;"or killed Willie C. Daniel from these negligent acts;

That Defendant Barbara(?) was negligent in failing to diagnosis and properly transfer
Wil|ie C. Daniel to nearby facility for additional required respiratory treatment and to
disclose the severity of the injuries Willie C. Daniel acquired while in the care of Kindred
hospital;

Defendant Kindred Hospital and its employees, employees, agents and representatives
failed to maintain and monitor the health of Wil|ie C. Daniel which resulted in her
wrongful death The Plaintiff submits that the defendants had a legal duty to conform tci
a particular standard of conduct to protect Wi|lie C. Daniel and others against
unreasonable risks or injuries and the defendants breached this duty of care by causing
bed sores to develop on Willie Ct Daniels thighs and buttocks, then improperly treating
the bedsores/ injuries to `y*yillie C.. Daniel and those injuries turned "septic"' which
negligently contributed to and/or caused her death and a proximate cause existed
between the defendant conduct and the resulting injury and death and actual damage

to Wi||ie C. Daniel’s person which directly and indirectly caused her death.

.The defendants knowingly and unknowingly contributed to and conspired to negligently

and wrongfully kill Wi||ie C. Daniel by their negligence of failing to diagnose and properly

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treating the bed sores, injuries and infections that resulted from injuries she acquired
while in their care These injuries turned "septic" causing her further injury and
contributed to and/or caused her death;

Defendant, lane Doe nurse, was negligent for failing to report the existence of bed
sores on Willie C. Daniel's |egs. back and buttocks and to monitor those bed sores, and
injuries of Willie C Daniel and to report those injuries to physician or supervisor and this
condition turned “septic" resulting in the contributing or causing of the death of Wil|ie
C. Daniel;

Defendant , lohn Doe physician, failed to properly and correctly diagnose and treat the
"septic" condition she had developed while in his/her care to Wil|ie C, Daniel in
professional and timely manner to prevent infection and blood poisoning which
contributed to and/or caused the death of Wi||ie C. Daniel;

Defendant, Kindred hospital attempted to conceal and transfer the severity of the
condition of Willie C Daniel and their wrongful acts to Dubois Hospital on or about lylay
30, 2011 but Dubois hospital denied her admittance due to the severe nature of her
wounds and infection;

Defendant Kindred Hospital was medically negligent for attempting to conceal the
severity and nature ofthe injuries to Wi|lie C. Daniel‘s left thigh, back and buttocks and
their "'septic"" condition, by attempting to conceal them and their wrongful acts by
transferring her to Bowen Hospital on or about l\/lay 30, 2011;

Defendant Kindred Hospital it’s employees, representatives and agents were wrongful

and negligent for contributing to and/’or causing the death of Willie Cw Daniel from

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"septic”, a condition containing diseases that were contracted by the bed sores,

infections and wounds to Wil|ie C. Daniels left thigh area and buttocks The disease filled

organism of the "septic"' condition were direct result of the negligent and improper

diagnosis treatment, and care of Willie C. Daniel by the Defendant Kindred Hospital;

Wherefore, the plaintiff prays this court to demand for trial and judgment and relief
of compensatory and punitive damages in excess of twenty-five thousand dollars and

for all other relief for which the Plaintiff is entitled to and any other reliefthis court may

choose to award or deem appropriate as relief in this action.

Respectful\y submitted

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\1\/,, ’ \ 314-531~1546

|n pro se

 

